

People v Ocasio (2022 NY Slip Op 00282)





People v Ocasio


2022 NY Slip Op 00282


Decided on January 18, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 18, 2022

Before: Renwick, J.P., Webber, Oing, Scarpulla, Pitt, JJ. 


SCI No. 1545/19, 1562/19 Appeal No. 15074 Case No. 2019-04876 

[*1]The People of the State of New York, Respondent,
vAlexis Ocasio, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Matthew W. Christiana of counsel), for appellant.
Cyrus R. Vance, Jr. District Attorney, New York (Valerie Figueredo of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Laurie Peterson, J.), rendered June 19, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 18, 2022
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








